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                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                                      Plaintiff,

v.                                                            Case No. 18-cv-02706-DDC-KGG

RYAN SCHELL, D.C.;
TYLER SCHELL, D.C.; and
KANSAS CITY HEALTH AND WELLNESS
CLINIC, P.A.,


                                      Defendants,

                 STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, and in accordance with

the terms and conditions of a Settlement Agreement fully executed on or about June 25, 2019, the

Plaintiff United States of America and Defendants Ryan Schell, Tyler Schell, and Kansas City

Health and Wellness Clinic, P.A. (collectively the “Parties), file this Stipulation of Dismissal. The

Parties stipulate as follows:

       1.      The Parties have executed a written Settlement Agreement. This Stipulation of

Dismissal is consistent with, subject to, and incorporates the terms of the Settlement Agreement.

       2.      All claims in the above-captioned action are hereby dismissed without prejudice.

       3.      All parties shall bear their on fees, costs, and expenses.

                                                      Respectfully submitted,

                                                      STEPHEN R. McALLISTER
                                                      United States Attorney
                                                      District of Kansas
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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 8th day of July 2019, a true and correct copy of the above and

foregoing Stipulation of Dismissal was filed with the Clerk of the Court using the CM/ECF system, which

will send a notice of electronic filing to all parties receiving CM/ECF notifications in this case. A copy

has also been provided by electronic mail to the following:

        Anthony C. Vitale
        avitale@vitalehealthlaw.com
        Counsel for Defendants
        Tyler Schell
        Ryan Schell
        Kansas City Health and Wellness Clinic, P.A.



                                                         /s/ Jon P. Fleenor
                                                         JON P. FLEENOR
                                                         Assistant United States Attorney
